Case 13-21976   Doc 33   Filed 08/22/13 Entered 08/22/13 15:08:12   Desc Main
                           Document     Page 1 of 6
Case 13-21976   Doc 33   Filed 08/22/13 Entered 08/22/13 15:08:12   Desc Main
                           Document     Page 2 of 6
Case 13-21976   Doc 33   Filed 08/22/13 Entered 08/22/13 15:08:12   Desc Main
                           Document     Page 3 of 6
Case 13-21976   Doc 33   Filed 08/22/13 Entered 08/22/13 15:08:12   Desc Main
                           Document     Page 4 of 6
Case 13-21976   Doc 33   Filed 08/22/13 Entered 08/22/13 15:08:12   Desc Main
                           Document     Page 5 of 6
Case 13-21976   Doc 33   Filed 08/22/13 Entered 08/22/13 15:08:12   Desc Main
                           Document     Page 6 of 6
